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AO 245B-CAED (Rev. 3/04) Sheet 1 - Judgment in a Criminal Case


                                   United States District Court
                                          Eastern District of California

         UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                     v.                                                (For Offenses Committed On or After November 1, 1987)
            J. ADRIANA BARAJAS                                         Case Number: 2:04CR00305 08


                                                                       DWIGHT SAMUEL, ESQ.
                                                                       Defendant’ s Attorney

THE DEFENDANT:

[U]     pleaded guilt y t o count : 1 of t he Superseding Inf orm at ion .



ACCORDINGLY, t he court has adjudicat ed t hat t he def endant is guilt y of t he f ollow ing of f ense:
                                                                                         Date Offense                Count
Title & Section                    Nature of Offense                                     Concluded                   Number
1 8 USC 4                          M ISPRISION OF A FELONY                               7 /3 1 /2 0 0 4             1




       The def endant is sent enc ed as prov ided in pages 2 t hrough 7 of t his judgm ent . The sent ence is im posed
pursuant t o t he Sent encing Ref orm A c t of 1 9 8 4 .



[U]     Count s 1 and 1 5 of t he 3 rd superseding indict m ent are dism issed on m ot ion of t he Unit ed St at es.




                          [U]      A ppeal right s w aiv ed.

         IT IS FURTHER ORDERED t hat t he def endant shall not if y t he Unit ed St at es A t t orney f or t his dist ric t w it hin
3 0 day s of any change of nam e, residenc e, or m ailing address unt il all f ines, rest it ut ion, cost s, and special
assessm ent s im posed by t his judgm ent are f ully paid. If ordered t o pay rest it ut ion, t he def endant m ust not if y t he
court and Unit ed St at es at t orney of m at erial changes in econom ic circum st ances.

                                                                                          1 0 /2 3 /2 0 0 7
                                                                               Dat e of Im posit ion of J udgm ent




                                                                                     /s/ D. Low ell J ensen
                                                                                 Signat ure of J udicial Of f icer

                                                                 HON. D. LOW ELL JENSEN, Unit ed St at es Dist rict J udge
                                                                           Nam e & Tit le of J udicial Of f icer

                                                                                           1 0 /2 9 /2 0 0 7
                                                                                                Dat e
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AO 245B-CAED (Rev. 3/04) Sheet 2 - Imprisonment
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                                                      IMPRISONMENT
           The def endant is hereby com m it t ed t o t he cust ody of t he Unit ed St at es Bureau of Prisons t o be im prisoned
f or a t ot al t erm of 1 2 M ONTHS A ND ONE DA Y. .




[U]     The court m ak es t he f ollow ing rec om m endat ions t o t he Bureau of Prisons:
        The Court recom m ends t hat t he def endant be incarc erat ed at t he Dublin, Calif ornia f acilit y , but only
        insof ar as t his ac c ords w it h sec urit y c lassif icat ion and space av ailabilit y .



[ ]     The def endant is rem anded t o t he cust ody of t he Unit ed St at es M arshal.



[ ]     The def endant shall surrender t o t he Unit ed St at es M arshal f or t his dist rict .
        [ ] at        on     .
        [ ] as not if ied by t he Unit ed St at es M arshal.



[U]     The def endant shall surrender f or serv ic e of sent ence at t he inst it ut ion designat ed by t he Bureau of
        Prisons:
        [U] bef ore 2 :0 0 P.M . on 0 1 /0 4 /2 0 0 8 .
        [ ] as not if ied by t he Unit ed St at es M arshal.
        [ ] as not if ied by t he Probat ion or Pret rial Serv ices Of f icer.
        If no suc h inst it ut ion has been designat ed, t o t he Unit ed St at es M arshal f or t his dist rict .


                                                            RETURN
I have executed this judgment as follow s:




        Defendant delivered on                                          to

at                                                , w ith a certified copy of this judgment.




                                                                                                   UNITED STATES MARSHAL



                                                                                By
                                                                                                     Deputy U.S. Marshal
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AO 245B-CAED (Rev. 3/04) Sheet 3 - Supervised Release
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                                                 SUPERVISED RELEASE
         Upon release from imprisonment, the defendant shall be on supervised release for a term of 12 MONTHS .


The defendant must report to the probation office in the district to w hich the defendant is released w ithin 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, st ate, or local crime.

The defendant shall not unlaw fully possess a controlled substance. The defendant shall refrain from any unlaw ful use of
controlled substance. The defendant shall submit to one drug test w ithin 15 days of release from imprisonment and at least
tw o periodic drug tests thereafter, not to exceed four (4) drug tests per month.

[]       The above drug testing condition is suspended based on the court' s determination that the defendant poses a low risk
         of future substance abuse. (Check, if applicable.)

[U]      The defendant shall not possess a firearm, destructive device, or any other dangerous w eapon. (Check, if applicable.)

[U]      The defendant shall submit to the collection of DNA as directed by the probation officer. (Check, if applicable.)

[]       The defendant shall register and comply w ith the requirements in the federal and state sex offender registration agency
         in the jurisdict ion of conviction, Eastern District of California, and in the state and in any jurisdict ion w here the
         defendant resides, is employed, or is a student. (Check, if applicable.)

[]       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in
accordance w ith the Schedule of Payments sheet of this judgment.

The defendant must comply w ith the st andard conditions that have been adopted by this court as w ell as w ith any additional
conditions on the attached page.

                               STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district w ithout permission of the court or probation officer;
2)    the defendant shall report to the probation officer and shall submit a truthful and complete w ritten report w ithin the first
      five days of each month;
3)    the defendant shall answ er truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)    the defendant shall support his or her dependants and meet other family responsibilities;
5)    the defendant shall w ork regularly at a law ful occupation unless excused by the probation officer for schooling, training or
      other acceptable reasons;
6)    the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol;
8)    the defendant shall not frequent places w here controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate w ith any persons engaged in criminal activity, and shall not associate w ith any person
      convicted of a felony unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsew here, and shall permit
      confiscation of any contraband observed in plain view by the probation officer;
11)   the defendant shall notify the probation officer w ithin seventy-tw o hours of being arrest ed or quest ioned by a law
      enforcement officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
      w ithout the permission of the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
      defendant' s criminal record or personal history or characteristics, and shall permit the probation officer to make such
      notifications and to confirm the defendant' s compliance w ith such notification requirement.
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                                 SPECIAL CONDITIONS OF SUPERVISION
        1.    The defendant shall submit to the search of her person, property, home, and vehicle by a
              United States Probation Officer, or any other authorized person under the immediate and
              personal supervision of the probation officer, based upon reasonable suspicion, without a
              search warrant. Failure to submit to a search may be grounds for revocation. The defendant
              shall warn any other residents that the premises may be subject to searches pursuant to this
              condition.

        2.    The defendant shall provide the probation officer with access to any requested financial
              information.

        3.    The defendant shall not incur new credit charges or open additional lines of credit without the
              approval of the probation officer.

        4.    The defendant shall not possess or have access to any paging device or cellular phone without
              the advance permission of the probation officer. The defendant shall provide all billing
              records for such devices, whether used for business or personal, to the probation officer upon
              request.
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AO 245B-CAED (Rev. 3/04) Sheet 5 - Criminal Monetary Penalties
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DEFENDA NT:                   J . A DRIA NA BA RA J A S


                                           CRIMINAL MONETARY PENALTIES
      The def endant m ust pay t he t ot al crim inal m onet ary penalt ies under t he Schedule of Pay m ent s on Sheet 6 .

                                                    A ssessm ent                         Fine                     Rest it ut ion
       Tot als:                                        $ 100                              $                            $



[ ]    The det erm inat ion of rest it ut ion is def erred unt il       . A n A m ended J udgm ent in a Crim inal Case (A O 2 4 5 C) w ill
       be ent ered af t er suc h det erm inat ion.

[ ]    The def endant m ust m ak e rest it ut ion (including com m unit y rest it ut ion) t o t he f ollow ing pay ees in t he am ount
       list ed below .

       If t he def endant m ak es a part ial pay m ent , each pay ee shall receiv e an approx im at ely proport ioned pay m ent , unless
       specif ied ot herw ise in t he priorit y order or percent age pay m ent colum n below . How ev er, pursuant t o 1 8 U.S.C.
       § 3 6 6 4 (i), all nonf ederal v ic t im s m ust be paid bef ore t he Unit ed St at es is paid.




Name of Payee                                       Total Loss*                  Restitution Ordered         Priority or Percentage



       TOTA LS:                                         $                               $




[]     Rest it ut ion am ount ordered pursuant t o plea agreem ent $

[ ]    The def endant m ust pay int erest on rest it ut ion and a f ine of m ore t han $ 2 ,5 0 0 , unless t he rest it ut ion or f ine is
       paid in f ull bef ore t he f if t eent h day af t er t he dat e of t he judgm ent , pursuant t o 1 8 U.S.C. § 3 6 1 2 (f ). A ll of t he
       pay m ent opt ions on Sheet 6 m ay be subjec t t o penalt ies f or delinquency and def ault , pursuant t o 1 8 U. S. C. §
       3 6 1 2 (g).

[ ]          The court det erm ined t hat t he def endant does not hav e t he abilit y t o pay int erest and it is ordered t hat :

       [ ]    The int erest requirem ent is w aiv ed f or t he       [ ] f ine              [ ] rest it ut ion

       [ ]    The int erest requirem ent f or t he          [ ] f ine [ ] rest it ut ion is m odif ied as f ollow s:




   * * Findings f or t he t ot al am ount of losses are required under Chapt ers 1 0 9 A , 1 1 0 , 1 1 0 A , and 1 1 3 A of Tit le 1 8
f or of f enses c om m it t ed on or af t er Sept em ber 1 3 , 1 9 9 4 , but bef ore A pril 2 3 , 1 9 9 6 .
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AO 245B-CAED (Rev. 3/04) Sheet 6 - Schedule of Payments
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                                                 SCHEDULE OF PAYMENTS


      Pay m ent of t he t ot al f ine and ot her crim inal m onet ary penalt ies shall be due as f ollow s:

A     [ ] Lum p sum pay m ent of $             due im m ediat ely , balance due

            [ ]    not lat er t han     , or
            [ ]    in ac c ordance w it h        [ ] C,   [ ] D,   [ ] E, or       [ ] F below ; or

B     [U]          Pay m ent t o begin im m ediat ely (m ay be com bined w it h [ ] C,                [ ] D, or [ ] F below ); or

C     [ ] Pay m ent in equal      (e.g. , w eek ly , m ont hly , quart erly ) inst allm ent s of $   ov er a period of        (e.g. , m ont hs
          or y ears), t o com m ence       (e.g. , 3 0 or 6 0 day s) af t er t he dat e of t his judgm ent ; or

D     [ ] Pay m ent in equal      (e.g. , w eek ly , m ont hly , quart erly ) inst allm ent s of $ ov er a period of     (e.g. , m ont hs
          or y ears), t o com m ence      (e.g. , 3 0 or 6 0 day s) af t er release f rom im prisonm ent t o a t erm of superv ision; or

E     [ ] Pay m ent during t he t erm of superv ised release w ill c om m ence w it hin  (e.g., 3 0 or 6 0 day s) af t er release
          f rom im prisonm ent . The court w ill set t he pay m ent plan based on an assessm ent of t he def endant ’ s abilit y
          t o pay at t hat t im e; or

F     [ ] Spec ial inst ruc t ions regarding t he pay m ent of crim inal m onet ary penalt ies:




Unless t he court has ex pressly ordered o t herw ise, if t his judgm ent im poses im prisonm ent , pay m ent of crim inal
m onet ary penalt ies is due during im prisonm ent . A ll crim inal m onet ary penalt ies, ex cept t hose pay m ent s m ade t hrough
t he Federal Bureau of Prisons' Inm at e Financ ial Responsibilit y Program , are m ade t o t he clerk of t he court .

The def endant shall rec eiv e credit f or all pay m ent s prev iously m ade t ow ard any crim inal m onet ary penalt ies im posed.

[ ]   J oint and Sev eral

Def endant and Co-Def endant Nam es and Case Num bers (including def endant num ber), Tot al A m ount , J oint and Sev eral
A m ount , and c orresponding pay ee, if appropriat e:




[ ]   The def endant shall pay t he cost of prosec ut ion.

[ ]   The def endant shall pay t he f ollow ing c ourt cost (s):

[ ]   The def endant shall f orf eit t he def endant ’ s int erest in t he f ollow ing propert y t o t he Unit ed St at es:
